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 1   Enu Mainigi (Pro Hac Vice)
     Luba Shur (Pro Hac Vice)
 2   Grant A. Geyerman (Pro Hac Vice)
     WILLIAMS & CONNOLLY LLP
 3   725 Twelfth Street, N.W.
     Washington, DC 20005
 4   Telephone: (202) 434-5000
     Facsimile: (202) 434-5029
 5
     Edward W. Swanson (State Bar No. 159859)
 6   August Gugelmann (State Bar No. 240544)
     SWANSON & McNAMARA LLP
 7   300 Montgomery Street, Suite 1100
     San Francisco, CA 94104
 8   Telephone: (415) 477-3800
     Facsimile: (415) 477-9010
 9
     Attorneys for CVS Pharmacy, Inc.
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12                             UNITED STATES DISTRICT COURT
13                           NORTHERN DISTRICT OF CALIFORNIA
14                                      OAKLAND DIVISION
15

16     CHRISTOPHER CORCORAN, et al.,             No. 15-CV-03504-YGR
17                                 Plaintiffs,   CLASS ACTION
18                   v.                          DECLARATION OF THOMAS S.
                                                 MOFFATT IN SUPPORT OF
19                                               DEFENDANT’S ADMINISTRATIVE
       CVS PHARMACY, INC.,
20                                               MOTION TO SEAL
                                   Defendant.
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 2          I, Thomas S. Moffatt, pursuant to 28 U.S.C. § 1746, hereby affirm that I am over 18 years

 3   of age and am competent to make the following Declaration:
 4
            1.      I have personal knowledge of the matters stated herein, and they are true and correct
 5
     to the best of my knowledge. I am authorized to make this Declaration on behalf of Defendant
 6
     CVS Pharmacy, Inc. (“CVS”). I authorize the use of this Declaration in connection with the above-
 7
     captioned lawsuit.
 8

 9          2.      I have been employed by CVS since August 1997, and currently hold the position

10   of Vice President, Secretary and Assistant General Counsel – Corporate Services of CVS.
11          3.      I submit this Declaration in support of CVS’s Administration Motion to File Under
12
     Seal Materials Designated as Confidential (“Motion”) (Nov. 21, 2016), which seeks to file under
13
     seal certain exhibits or portions thereof to CVS’s Opposition to Plaintiffs’ Motion for Class
14
     Certification (“Opposition”) and CVS’s Motion to Strike Dr. Joel Hay’s Opinion Regarding
15

16   Plaintiffs’ Qualifying Transactions and Exclude Evidence of Undisclosed Transactions (“Motion

17   to Strike”). Exhibits referenced in CVS’s Opposition are numbered (e.g., Exhibit 1), while exhibits

18   referenced in Defendant’s Motion to Strike are lettered (e.g., Exhibit A). CVS seeks to seal all
19   exhibits listed in this Motion in their entirety unless indicated otherwise.
20
            4.      The following exhibits are copies of CVS’s agreements with business partners (or
21
     composites thereof) who are not parties to this lawsuit. CVS does not routinely disclose publicly
22
     its agreements with business partners; the agreements are confidential, and CVS is contractually
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24   bound to keep the agreements listed in ¶¶ 4.a to 4.f confidential.

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 2                  a.        Exhibit 63 (National Pharmacy Services Agreement between Aetna Health

 3                  Management, LLC, and CVS Pharmacy, Inc. (Jan. 15, 2009)).
 4
                    b.        Exhibit 64 (Participating Agreement for Pharmacy Chain between Argus
 5
                    Health Systems, Inc. and CVS Pharmacy, Inc. (Feb. 25, 2002)).
 6
                    c.        Exhibit 65 (Provider Agreement between Catamaran LLC and CVS
 7
                    Pharmacy, Inc. (Dec. 11, 2014)).
 8

 9                  d.        Exhibit 66 (Commercial Preferred or Restricted Value Added Network

10                  Program between Coventry Health Care, Inc. and CVS Pharmacy, Inc. (Jan, 1,
11                  2014)).
12
                    e.        Exhibit 67 (Pharmacy Network Agreement between OptumRx, Inc., and
13
                    CVS Pharmacy, Inc. (Jan. 29, 2015)).
14
                    f.        Exhibit 68 (Participating Pharmacy Agreement between Rx Options, LLC
15

16                  and CVS Pharmacy, Inc. (Jan. 1, 2014)).

17                  g.        Exhibit 74 (chart compiling CVS’s confidential agreements with 109

18                  business partners who are not parties to this lawsuit).
19          5.      The following exhibits are Plaintiffs’ prescription records and transcript excerpts
20
     from the depositions of Plaintiffs (or composites thereof). These exhibits are confidential because
21
     they contain protected health information.
22
                    a. Exhibits 69–71 (prescription records for Carolyn Caine, Christopher Corcoran,
23

24                       and Avis Zulema).

25                  b. Exhibit 73 (chart appending portions of Plaintiffs’ prescription records and

26                       transcript excerpts from Plaintiffs’ depositions).
27
                    c. Exhibit F and G (charts describing Plaintiffs’ at-issue transactions).
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 2          6.      The following exhibits are interrogatory responses and transcript excerpts from the

 3   depositions of Plaintiffs.
 4
                    a.      Exhibits 1–6 and B (charts excerpting and summarizing portions of
 5
                            Plaintiffs’ depositions).
 6
                    b.      Exhibit 29 (Zulema Avis Deposition Transcript Excerpts (Aug. 5, 2016)).
 7
                    c.      Exhibit 30 (Deborah Barrett Deposition Transcript Excerpts (Sept. 16,
 8

 9                          2016)).

10                  d.      Exhibit 31 (Gilbert Brown Deposition Transcript Excerpts (Oct. 13, 2016)).
11                  e.      Exhibit 32 (Carolyn Caine Deposition Transcript Excerpts (July 26, 2016)).
12
                    f.      Exhibit 33 (Tyler Clark Deposition Transcript Excerpts (Oct. 26, 2016)).
13
                    g.      Exhibit 34 (Christopher Corcoran Deposition Transcript Excerpts (Nov. 3,
14
                            2016)).
15

16                  h.      Exhibit 35 (Robert Garber Deposition Transcript Excerpts (Sept. 21, 2016)).

17                  i.      Exhibit 36 (Vincent Gargiulo Deposition Transcript Excerpts (Aug. 27,

18                          2016)).
19                  j.      Exhibit 37 (Amanda Gilbert Deposition Transcript Excerpts (Sept. 7,
20
                            2016)).
21
                    k.      Exhibit 38 (Zachary Hagert Deposition Transcript Excerpts (Aug. 12,
22
                            2016)).
23

24                  l.      Exhibit 39 (Robert Jenks Deposition Transcript Excerpts (July 28, 2016)).

25                  m.      Exhibit 40 (Toni Odorisio Deposition Transcript Excerpts (Aug. 18, 2016)).

26                  n.      Exhibit 41 (Onnolee Samuelson Deposition Transcript Excerpts (Aug, 19,
27
                            2016)).
28
                    o.      Exhibit 42 (Carl Washington Deposition Transcript Excerpts (Aug. 30,


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                                                        3
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 2                          2016)).

 3                  p.      Exhibit 43 (Walter Wulff Deposition Transcript Excerpts (Aug. 9, 2016)).
 4
                    q.      Exhibit 44 and C (Linda Krone Deposition Transcript Excerpts (Aug. 5,
 5
                            2016)).
 6
                    r.      Exhibits 48–62 (Plaintiffs’ operative interrogatory responses).
 7
                    s.      Exhibit A (chart excerpting and summarizing portions of Plaintiffs’
 8

 9                          interrogatory responses).

10          7.      The following exhibit is a declaration from a CVS employee. It reveals information
11   about, inter alia, internal strategy, operations, and business decisions; confidential
12
     communications; and other non-public information regarding CVS’s contractual relationships with
13
     entities who are not parties to this lawsuit. CVS seeks to seal this document in part.
14
                    a. Exhibit 18 (Declaration of Susan Colbert (Nov. 21, 2016)).
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 2          8.      The following exhibits are transcripts from depositions of current and former CVS

 3   employees. They reveal information about, inter alia, CVS’s internal confidential processes for
 4
     populating data fields in pharmacy claims; details about the nature of business agreements CVS
 5
     has with non-parties; and CVS’s confidential methodology for determining its retail cash prices
 6
     for certain prescription drugs. CVS seeks to seal these documents in part.
 7

 8
                    a.      Exhibit 19 (Susan Colbert Transcript Deposition Excerpts (Oct. 26, 2016)).
 9
                    b.      Exhibit 20 (Hilary Dudley Transcript Deposition Excerpts (Sept. 20, 2016)).
10
                    c.      Exhibit 21 (Scott Tierney Transcript Deposition Excerpts (Sept. 13, 2016)).
11
                    d.      Exhibit 23 (John Zevzavadjian Deposition Transcript Excerpts (Nov. 1,
12

13                          2016)).

14                  e.      Exhibit 46 (Thomas E. Morrison Transcript Deposition Excerpts (Jul. 20,
15                          2016)).
16
                    f.      Exhibit 47 (Elizabeth Wingate Transcript Deposition Excerpts (Oct. 20,
17
                            2016)).
18
            9.      The following exhibit is a transcript from a deposition taken as part of the State of
19

20   Texas’s ongoing, confidential investigation of CVS’s Health Savings Pass program.               The

21   transcript, as part of the record in the investigation, is not a public document and is to be treated

22   as confidential.
23                  a.      Exhibit 45 (Thomas Morrison Transcript (Feb. 2, 2016)).
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 2           10.   The following exhibits are declarations and deposition testimony from third-party

 3   witnesses that reveal various types of confidential information concerning business decisions,
 4
     strategy, non-public financial data, confidential communications, contractual relationships with
 5
     non-parties, pricing structures, methodologies, and models. CVS seeks to seal these documents in
 6
     part.
 7
                   a. Exhibit 11 (Bill Barre Deposition Transcript Excerpts (Nov. 17, 2016)).
 8

 9                 b. Exhibit 12 (Declaration of Amber Compton (Nov. 18, 2016)).

10                 c. Exhibit 14 (Declaration of John Lavin (Nov. 21, 2016)).
11                 d. Exhibit 15 (Declaration of Michael Reichart (Nov. 20, 2016)).
12
             11.   The following exhibits are declarations from CVS’s experts that reveal various
13
     types of confidential information, including transactional data and contractual agreements that
14
     reflect sensitive commercial information and non-public aspects of the company’s internal
15

16   business operations and finances. CVS seeks to seal these documents in part.

17                 a. Exhibit 24 (Declaration of Brett Barlag (Nov. 21, 2016)).

18                 b. Exhibit 25 (Declaration of Catherine C. Graeff (Nov. 20, 2016)).
19           12.   The following exhibit includes testimony from Plaintiffs’ expert which Plaintiffs
20
     have designated confidential.
21
                   a.      Exhibit D (Dr. Joel Hay Deposition Transcript Excerpts (Nov. 9, 2016)).
22
             13.   The following exhibits are internal, non-public CVS documents that reveal, inter
23

24   alia, various types of information about CVS’s internal operations and/or finances, and CVS’s

25   communications with parties in other ongoing confidential investigations. Unless otherwise

26   indicated, CVS seeks to seal these documents in part.
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 2        a.      Exhibit 75 (Excerpt of 2008 Event Report for 3Q CVS Caremark Earnings

 3        Call). The Event Report is confidential because it contains the contact information
 4
          of investors. CVS seeks to seal this document in its entirety.
 5
          b.      Exhibit 79 (May 2014 Active Plan List).          The Active Plan List is
 6
          confidential because it contains proprietary information related to CVS’s internal
 7
          operations. CVS seeks to seal this document in its entirety.
 8

 9        c.      Exhibit 83 (Email from Lisa Schuldes to Doug Ghertner (August 7, 2008)).

10        This email reveals confidential information regarding business and marketing
11        decisions and references CVS’s agreements with a third-party entity that is not a
12
          party to this litigation.
13
          d.      Exhibit 84 (Aetna Meeting Agenda (Nov. 13, 2008)). The agenda discusses
14
          business strategy regarding cooperation with a third-party entity that is not a party
15

16        to this litigation.

17        e.      Exhibit 86 (New Health Savings Pass Program Pharmacy Team Huddle

18        Guide (Oct. 21, 2008)). The guide discusses the pharmacist’s role in administering
19        the Health Savings Pass program and marketing towards target customer
20
          populations. The guide reveals internal business strategy and operations.
21
          f.      Exhibit 92 (E-mail from Bari Harlam to Doug Ghertner (Jan. 19, 2009)).
22
          This e-mail reveals confidential information regarding business and marketing
23

24        strategy and references negotiations with a third-party entity that is not a party to

25        this litigation.

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